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                       IN THE FEDERAL DISTRICT COURT FOR THE
                                DISTRICT OF NEBRASKA

 STEPHANIE J. MEGEL, an individual,
                                                               Case No. 8:18-cv-201
          Plaintiff,
                                                                    COMPLAINT
 v.
                                                            JURY TRIAL DEMANDED
 KEEPING UP WITH THE JONESES,
 INC. d/b/a JONES BROS CUPCAKES,
                                                           PLACE OF TRIAL: OMAHA
          Defendant.


                                             INTRODUCTION

        1.       Stephanie Megel (“Ms. Megel”) worked at Jones Bros Cupcakes (“Jones Bros”) for

over five (5) years before she felt compelled to resign her employment due to a work environment

utterly permeated with unaddressed sexual harassment and hostility towards women. Jones Bros

repeatedly demonstrated its commitment to providing a safe-haven for Jerry Jones Jr.’s (“Jerry

Jones”) lewd and sexually explicit harassing conduct by refusing to address Ms. Megel’s

numerous complaints. Eventually, Jones Bros left Ms. Megel with no choice but to leave her

managerial position with the company and accept a lower paying position elsewhere. Ms. Megel’s

new position required her to drop out of school and put her long term career goals on hold.



                                         VENUE & JURISDICTION

        2.       This matter arises under federal and state law. This Court has jurisdiction of this

matter pursuant to 28 U.S.C. § 1331 based on Ms. Megel’s claims based on federal statutes. The

Court also has supplemental jurisdiction of the Nebraska state law claims, pursuant to 28 U.S.C.

§ 1367.




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        3.    Venue is proper in this district pursuant to 28 U.S.C § 1391(b)(2), because the acts

forming the basis for the Complaint were orchestrated from, planned in and conducted in this

District.

                                            PARTIES

        4.    Ms. Megel is a woman and resident of Omaha, Nebraska. Jones Bros hired Ms.

Megel on May 1, 2010. Ms. Megel felt compelled to resign her position on October 13, 2016, after

Jones Bros utterly failed and refused to address her many complaints about rampant sexual

harassment.

        5.    Defendant Jones Bros is a family-run cupcake bakery and Nebraska Corporation.

Jones Bros sells food, cupcakes and other deserts from several store fronts in Omaha, Nebraska.

                                    BACKGROUND FACTS

        6.    Stephanie Megel worked at Jones Bros from May 1, 2010 through October 27,

2016. She was promoted to her position as Office Manager in or around 2013. As Office

Manager, Ms. Megel had a variety of responsibilities including taking orders, wedding

consultations, acquiring supplies for Jones Bros stores, planning events, and merchandising.

        7.    As early as June 2013, Ms. Megel noticed that catering manager Jerry Jones, Jr.

made sexual comments to catering assistant Elisha Erlbacher. These comments occurred on a

regular basis and were of a lewd and sexual nature. By way of example, in 2016, Jerry Jones

told Ms. Erlbacher that she could not wear her green blouse when Jones Bros did its LinkedIn

catering because the blouse was tight and it made Jerry Jones “hard.”

        8.    Jerry Jones also regularly commented about the size of his own penis and his

desire to “fuck somebody.”     He told Jones Bros employees that his marriage had been

unsuccessful because his ex-wife was “fat” and he “didn’t want to f**k her anymore.” He made

inappropriate jokes about the size of his penis and his sexual encounters with his fictional

girlfriend, stating on more than one occasion that his girlfriend wanted him to “f**k her with 9

inches, so I had to bang her three times”

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       9.      Jerry Jones regularly commented on the bodies and general appearance of female

Jones Bros customers, often further fantasizing – verbally and in front of Jones Bros employees-

as to what he would do to female customers’ bodies.

       10.     Jerry Jones once stated that he particularly enjoyed working at the 180th Street

Jones Bros location because all of the “hot young moms” brought their kids in for lunch.

       11.     Several female employees resigned due to Jerry Jones’ sexual harassment and

the hostile work environment that his comments and jokes created.

       12.     Jerry Jones directed demeaning and abusive comments to Ms. Megel.                   In

December 2015, Jerry Jones told Ms. Megel that she thought she was a “hot shot,” but that she

“wasn’t anything” and was “replaceable.” Ms. Megel was insulted by Jerry Jones’ comments and

complained to Bill Jones, but he refused to do anything about the problem. Bill Jones said he

“didn’t need the drama” because it was a busy time for the business.

       13.     Ms. Megel complained to Bill Jones multiple times regarding Jerry Jones behavior,

but Bill Jones never acted on Ms. Megel’s complaints. In fact, Jerry Jones’ behavior often became

worse after Ms. Megel complained.

       14.     In August 2016, Ms. Megel interviewed a potential new employee, Julieann Brock.

During the interview, Jerry Jones stood behind Ms. Brock and simulated oral sex. Later, Jerry

Jones encouraged Ms. Megel to hire Ms. Brock because “she was hot.” Jerry Jones rubbed his

hands together and further stated, “I’d like to work with her, she’s at the Aksarben location, right?”

       15.     Ms. Megel was tired of Jerry Jones’ behavior and again complained to Bill Jones.

Bill dismissed Ms. Megel’s complaints, stating, “that’s just Jerry.” Ms. Megel even requested that

Jones Bros fire Jerry Jones so that it could provide a harassment-free workplace. Bill Jones

responded by explaining that he wouldn’t fire his own brother, stating, “The only reason he has a

job here is because he’s unemployable anywhere else.”




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       16.     In October 2016, Bill Jones went on vacation with his family. He requested that,

in his absence, Ms. Megel keep things in line at Jones Bros’ bakery and office. Bill Jones allowed

Jerry Jones to oversee the store locations.

       17.     While Bill Jones was out of town, Jones Bros’ bakery oven stopped working. Ms.

Megel handled the problem and set an appointment for a repairman to come look at the oven.

       18.     On October 10, 2016, Jerry Jones requested that Ms. Megel provide him with an

oven repair person’s phone number. Ms. Megel refused to provide the number to Jerry Jones,

because she had already called the repairman and she feared Jerry Jones would damage the

relationship with the repairman if Ms. Megel allowed Jerry to contact him directly.

       19.     Later that day, Jerry Jones told delivery driver Jim Muehle and Aksarben location

manager Hailey Clausse that Ms. Megel was a “fucking cunt bitch” and instructed them that

nobody needed to answer to Ms. Megel while Bill Jones was out of town.

       20.     On October 11, 2016, Muehle informed Jerry Jones that Ms. Megel had asked him

to write down Jerry’s comments. Jerry Jones told Muehle that people’s jobs were on the line,

including Muehle’s, so Muehle better not put anything in writing. Muehle returned to the bakery

and told Ms. Megel, in the presence of Cake Designer Linda Caniglio, that he couldn’t write

anything down because he needed his job.

       21.     On October 13, 2016, after enduring years of Jerry Jones’ verbal abuse and sexual

harassment and Jones Bros’ refusal to do anything about it, Ms. Megel submitted her notice to

Bill Jones.

       22.     Ms. Megel asked Bill Jones if she could talk to him about her resignation, but he

told her he “didn’t want to hear it.” He only wanted her resignation in writing.

       23.     Ms. Megel stayed on until October 27, 2016, to help the Jones Bros staff prepare

for her departure.

       24.     Ms. Megel filed charges of sex discrimination and retaliation against Jones Bros

with the NEOC and the EEOC. See NEOC Charge NEB 2-16/17-1-47932-RS; EEOC Charge No.

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32E-2017-00247. The NEOC rendered its decision on February 22, 2018. The EEOC issued its

Right to Sue letter for Ms. Megel’s charge against ES&S on April 19, 2018. (A true and correct

copy of the EEOC letter is attached as Exhibit A and incorporated here as if fully set forth.)

                                        FIRST CLAIM
                            SEX HARASSMENT BY JONES BROS
                       IN VIOLATION OF TITLE VII & NEBRASKA FEPA
                    (42 U.S.C. § 2000e-2; Neb. Rev. Stat. §48-1104 et seq.)


        25.    Ms. Megel incorporates by reference paragraphs 1 through 24, inclusive, as if fully

set forth.

        26.    Jones Bros’ demeaning, disrespectful and harassing conduct was a regular

component of Ms. Megel’s day-to-day work environment. Jerry Jones permeated the workplace

with an ongoing barrage of vulgar and demeaning comments about female employees and

customers.

        27.    On an ongoing basis throughout Ms. Megel’s employment, Jerry Jones made

vulgar sexual comments about female employees and customers, including almost constant

comments about women’s bodies and his sexual fantasies about women.

        28.    Jerry Jones constant comments, jokes and innuendo made the workplace

unbearable for the majority of female Jones Bros employees. In fact, several females found jobs

elsewhere and resigned their positions at Jones Bros to escape the sexually hostile work

environment.

        29.    Ms. Megel complained about Jerry Jones’ behavior repeatedly to Bill Jones, but

he refused to acknowledge or address the problem. As a result, Jones Bros’ female employees

continued to be subjected to a workplace permeated with sexual harassment.

        30.    Ultimately, the workplace became so unbearably hostile, Ms. Megel felt she had

no choice other than to resign her position at Jones Bros.




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                                      SECOND CLAIM
                               RETALIATION BY JONES BROS
                       IN VIOLATION OF TITLE VII & NEBRASKA FEPA
         (42 U.S.C. § 2000e-2; Neb. Rev. Stat. §48-1104 AND 48-1114(1) & (2) et seq.)

        31.    Ms. Megel incorporates by reference paragraphs 1 through 30, inclusive, as if fully

set forth.

        32.    Ms. Megel engaged in protected activity when she complained about Jerry Jones’

illegal sexual harassment of both herself and her female co-workers on multiple occasions.

        33.    In reaction to Ms. Megel’s numerous complaints, Jerry Jones’ behavior only

became worse. He focused his harassment on Ms. Megel, calling her sexually explicit, derogatory

names and humiliating her in front of her co-workers and subordinates.

        34.    After Ms. Megel reported Jerry Jones’ behavior to Jones Bros, her working

conditions became so unbearable, she had no choice other than to resign.




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                               REQUEST FOR RELIEF

  Ms. Megel requests judgment in her favor and awarding the following:

         1.   Damages for Ms. Megel’s lost and future wages;

         2.   Damages for Ms. Megel’s emotional pain and suffering, inconvenience,

              mental anguish, and loss of enjoyment of life;

         3.   Damages for Ms. Megel’s out-of-pocket expenses for mental health and

              counseling treatment;

         4.   Punitive damages for the Defendant’s knowing violation of federal

              discrimination laws and disregard of Ms. Megel’s health and well-being;

         5.   Costs and attorney fees, as allowed by law, and

         6.   Other and further relief as the Court deems appropriate.

  PLAINTIFF MAKES DEMAND FOR TRIAL BY JURY.


                                      STEPHANIE MEGEL, PLAINTIFF,

                                      By:/s/ Alexis S. Mullaney
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                                                                   Exhibit A
